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                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF KENTUCKY
                                   SOUTHERN DIVISION
                                         LONDON

 UNITED STATES OF AMERICA,                        )
                                                  )
           Plaintiff,                             )            Criminal No. 13-49-GFVT
                                                  )
 V.                                               )
                                                  )
 WILLIE TRAMPUS HOSKINS,                          )                     ORDER
                                                  )
                                                  )
           Defendant.

                                        *** *** *** ***

          This matter is before the Court on the Recommended Disposition [R. 340] filed by

United States Magistrate Judge Hanly A. Ingram. The Defendant, Willie Trampus Hoskins, is

charged with two violations of his supervised release including using and possessing controlled

substances and committing another federal crime by using and possessing methamphetamine.

[R. 340 at 1-2.] After Hoskins was confronted with a urine sample that tested positive for

methamphetamine and amphetamine, Hoskins admitted to using methamphetamine on January

11, 2016, in clear violation of the conditions of his supervised release. [Id.] Upon notification of

these violations, the Court issued an arrest warrant. [R. 337.] This matter was then referred to

Judge Ingram to conduct a final revocation hearing and recommend a proposed disposition of the

matter.

          Concerning the instant offense, Judge Ingram conducted a final hearing on February 22,

2016, during which Defendant Hoskins competently stipulated to all charged violations. [R. 339;

R. 340 at 2.] On February 23, 2016, Judge Ingram issued a Recommended Disposition which
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recommended revocation of Hoskins’ term of supervised release and a term of incarceration for

six (6) months with four years of supervised release to follow. [Id. at 7.] Judge Ingram

appropriately considered the 18 U.S.C. § 3553 factors in coming to his recommended sentence,

and particularly noted Defendant’s troubling history of crime and substance abuse, the danger he

poses to himself and others when he is using drugs, and the disturbing matter of Hoskins’

violation of the Court’s trust in this instance. [Id. at 5-6.] Pursuant to Rule 59(b) of the Federal

Rules of Criminal Procedure, the Recommended Disposition further advises the parties that

objections must be filed within fourteen (14) days of service. [Id. at 8.] See 28 U.S.C.

§ 636(b)(1). Defense counsel has filed a notice with the Court that Hoskins does not intend to

challenge the Magistrate’s Recommendation and submitted a waiver of allocution. [R. 341.]

       Generally, this Court must make a de novo determination of those portions of the

Recommended Disposition to which objections are made. 28 U.S.C. § 636(b)(1)(c). When no

objections are made, as in this case, this Court is not required to “review . . . a magistrate’s

factual or legal conclusions, under a de novo or any other standard.” See Thomas v. Arn, 474

U.S. 140, 151 (1985). Parties who fail to object to a magistrate judge’s report and

recommendation are also barred from appealing a district court’s order adopting that report and

recommendation. United States v. Walters, 638 F.2d 947 (6th Cir. 1981). Nevertheless, this

Court has examined the record and agrees with Magistrate Judge Ingram’s Recommended

Disposition. Accordingly, and the Court being sufficiently advised, it is hereby ORDERED as

follows:

       1.      The Recommended Disposition [R. 340] as to Defendant Willie Trampus Hoskins

is ADOPTED as and for the Opinion of the Court;

       2.      Defendant Hoskins is found to have violated the terms of his Supervised Release
                                               2
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as set forth in the Report filed by the U.S. Probation Officer and the Recommended Disposition

of the Magistrate Judge;

       3.     Hoskins’ Supervised Release is REVOKED;

       4.     Hoskins is SENTENCED to the Custody of the Bureau of Prisons for a term of

six (6) months with a term of four (4) years of supervised release to follow;

       5.     Hoskins shall appear for a status conference before Magistrate Judge Ingram on

March 1, 2017, at 1:00 p.m. at the United States Courthouse in London, Kentucky; and

       6.     Judgment shall be entered promptly.

       This the 14th day of March, 2016.




                                               3
